                   Case
                Case    2:05-cr-00413-JAMDocument
                     2:05-cr-00360-JAM    Document5694 Filed
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                                  UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA


USA,

       vs.                                                   2:05−CR−00413−JAM
                                                    CASE NO. 2:05−CR−00360−JAM
SILVA, ET AL.
JAMES THOMAS FLOCKER,




                                                 ORDER OF REASSIGNMENT

                The court, having considered the appointment of Judge John A. Mendez,

             finds the necessity for reassignment of the above captioned case, and for notice to

             be given to the affected parties.

                IT IS THEREFORE ORDERED that:

                The above captioned case shall be and is hereby REASSIGNED from

                Senior Judge D Lowell Jensen, to Judge John A. Mendez

             for all further proceedings. The new case number for this action, which must be used

             on all future documents filed with the court, is:

                                           2:05−CR−00413−JAM
                                           2:05−CR−00360−JAM

                All dates currently set in this reassigned action shall remain pending subject to

             further order of the court.




  Dated: May 1, 2008
